                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


In re:                                                          Chapter 13

Mark A. Formosa,                                                Case No. 17-46215

         Debtor.                                                Hon. Phillip J. Shefferly
                                             /


                         ORDER SUSTAINING IN PART AND
                         DENYING IN PART OBJECTIONS TO
                       MORTGAGE CREDITOR’S NOTICES OF
                   POST-PETITION ATTORNEY FEES AND EXPENSES


         On January 19, 2018, the Court issued an Opinion Sustaining in Part and

Denying in Part Objections to Mortgage Creditor’s Notices of Post-Petition Attorney

Fees and Expenses (“Opinion”) (ECF No. 86). For the reasons explained in the

Opinion, all of which are incorporated herein,

         IT IS HEREBY ORDERED that the objections (ECF Nos. 53 and 56) filed by the

Debtor and the United States Trustee to the notices (ECF Nos. 48 and 49) of

post-petition mortgage fees, expenses and charges filed by Dearborn Federal Savings

Bank (“Bank”) are sustained in part and denied in part, as follows:




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      1.     $2,500.00 of attorney fees described in the notices are recoverable

             by the Bank;

      2.     none of the attorney fees in excess of $2,500.00 described in the

             notices, and none of the expenses described in the notices, are

             recoverable by the Bank; and

      3.     none of the attorney fees and expenses described in the notices are

             required to be paid by the Debtor to cure a default and maintain

             payments under the Debtor’s mortgage with the Bank under

             § 1322(b)(5) of the Bankruptcy Code.




Signed on January 19, 2018




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